American Land Title Association                                                                        ALTA Sertlement Statement - Buyer
                                                                                                                      Adopted OS-01-2015


File No.'. 8574d4-BT                                                      Insured Titles
Printed: OS/27/2019, 3:46 PM
Officer/EscrowQ'ficer: Uzz Piper                               43S Grand Drive • Bigfork, MT 59911
                                                             Phone: (406)837-5144 Fax: {406)827-5143
Wteher/lpw
                                                                    Fina! Setttement Statement                  INSUREDTFTLES
SettlemeRt locstion:
4?5 Grand Drive, B'gfork, MT 59911


iProperty Add'esi;: 11423 Spotied Fswn Lane, Bigfork, MT 59911
Buyer: Viking investments LLC
ISelie': Estare of Dcvid Snvde"" aob'-iS
iLeoder'
iSettiement Date; 09/30/201°
!0isbursemsnt Qate: 09/30/2019


                                                                                                                      Buyer
                                                    Description                                             Debit            j   Credit
 Financial
 Ssie Price                                                                                                   358,000.00
 Oeposit: Receip; No. 4897 o;' 08/2S/2019 by ViKing Investments ILC                                                                 10,000.00


 Prorstions/Adjustments
 CountyTaxes 09/30/19tol2/31/19 @S3,171.27/yr                                                                       799.33
 PropsnePro Ration                                                                                                  49S.1S


 Tltle Charges & Escrow / Settlement Charges                                                                                 i
 Docu-ne"t Deiivery Fee to insu'ed Titles                                                                             5.00
 Sertis-RS'it orCiosing Fee io Insurea'Titles                                                                       250.00


 Government Recording snd Transfer Charges
 Reco.'dingFee-Oesd                                                                                                  14.00


 Miscellaneous                                                                                                             T
 Tsnk Lease to .Mo't.lern £ne''gY                                                                                   100.00
 WaterRight toDNRC                                                                                                   50.00

 Subtotals                                                                                                    359,716-48            10,000.00
 Due Frorri 3uyer                                                                                                                 349,716.48
 Totsis                                                                                                       359,716.48           359,716.48


Acknow'edgement
We/1 have carefully reviewed the ALTASettlementStatement and find it to be a frue and accurate statementofall
.'eceipts and disbursements made on my sccount or by me in this transaction and further certify that i have received a
copy ofthe ALTA Settlement Statement. We/1 authorize Insured Titles to cause the funds to be disbursed in
accordance with this statsment.




Ctepyrigbt 2015 Amcrit^n La."d Titlc Associ3tion.                                                                                File »SS7444-8-
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                       9:23-ap-09001-BPH Doc#: 35-11 Filed: 11/15/23 Page 1 of 2 (^ < U" kllYtuM^
Buyer(s):


 Viking Investrngnts LLC


  By;.
              QuiL
     Nsme: Candy Lynn Wiliiams
                                    '^'v-

     Titje: Manager




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